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                                                                          5                              IN THE UNITED STATES DISTRICT COURT
                                                                          6                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)                          )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                                   )
                                                                                                                                     )   Case No. 07-cv-5944 JST
                                                                          9                                                          )
                                                                                                                                     )   ORDER REQUIRING
                                                                         10   This Order Relates To:                                 )   APPLICATION FOR ENTRY OF
                               For the Northern District of California
United States District Court




                                                                                                                                     )   DEFAULT RE IRICO ENTITIES
                                                                         11   All Direct Purchaser Actions                           )
                                                                                                                                     )
                                                                         12                                                          )
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                                                                         14          On June 28, 2016, the Court ordered any plaintiff in this consolidated MDL with claims
                                                                         15   against defendants Irico Display Devices Co., Ltd. and Irico Group Corporation (the “Irico
                                                                         16   Entities”) to advise the Court in writing by July 5, 2016 of the following: (1) the date on which it
                                                                         17   filed its operative claims against the Irico Entities; (2) whether the Irico Entities have been served
                                                                         18   with those claims; and (3) whether the Irico Entities have answered those claims. ECF No. 4694. If
                                                                         19   the answer to the third question was negative, the filing party was ordered to show cause why it had
                                                                         20   not requested entry of default. Id.
                                                                         21          On July 5, 2016, the Direct Purchaser Plaintiffs (“DPPs”) filed a response, indicating that
                                                                         22   they had filed and served claims against the Irico Entities, and that the Irico Entities had not
                                                                         23   answered those claims, but that the DPPs had not sought entry of default. They stated, “At present,
                                                                         24   it would be premature for DPPs to seek a default judgment against the Irico Entities.” ECF No.
                                                                         25   4705 at 1.
                                                                         26          The DPPs are conflating entry of default with entry of default judgment. “The two concepts
                                                                         27   are distinct and must be treated separately.” United States v. Topeka Livestock Auction, Inc., 392
                                                                         28   F. Supp. 944, 950 (N.D. Ind. 1975). The first is a ministerial act by the clerk of the court once a
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                                                                         1    party has satisfied the requirements of Rule 55(a); the second usually requires (and in this case will
                                                                         2    require) action by the court. Fed. R. Civ. P. 55(b). “Damages must be fixed before an entry of
                                                                         3    default can become a default judgment[.]” 10A Charles Alan Wright, et al., Federal Practice &
                                                                         4    Procedure § 2682 (3d ed. 1998) (footnotes omitted).
                                                                         5           There is no reason the DPPs cannot seek entry of default pursuant to Rule 55(a). They are
                                                                         6    ordered to do so within ten days of this order.
                                                                         7           IT IS SO ORDERED.
                                                                         8    Dated: July 6, 2016
                                                                         9
                                                                                                                                ______________________________________
                                                                         10                                                                    JON S. TIGAR
                               For the Northern District of California
United States District Court




                                                                         11                                                              United States District Judge

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